
955 A.2d 269 (2008)
405 Md. 646
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Aaron D. WEINRAUCH, Respondent.
Misc. Docket AG No. 5, Sept. Term, 2008.
Court of Appeals of Maryland.
August 27, 2008.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Aaron D. Weinrauch, to disbar the Respondent by consent from the practice of law.
The Court having considered the Petition, it is this 27th day of August, 2008,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Aaron D. Weinrauch, be, and he is hereby, disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that a judgment in the amount of $209.50 be, and it is hereby entered against the Respondent and for the Attorney Grievance Commission of Maryland, and it is further
ORDERED, that the Clerk of this Court shall remove the name of Aaron D. Weinrauch from the register of attorneys in the Court and shall certify that fact to the Client Protection Fund and Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
